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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI


IN RE: JESSIE BENARD                                                       CASE NO: 19-01861

______________________________________________________________________________

             ENTRY OF APPEARANCE AND REQUEST FOR COPIES
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       COMES NOW Jeffery P. Reynolds and Patricia E. Herlihy of Jeffery P. Reynolds, P.A.,

Post Office Box 24597, Jackson, Mississippi, 39225, and enters their appearance as counsel of

record for Delta Industries, Inc.

       Jeffery P. Reynolds and Patricia E. Herlihy of Jeffery P. Reynolds, P.A. hereby request to

be provided with copies of all notices given and papers served in this case, including motions,

applications, petitions, complaints, other pleadings, orders, judgments, reports and any other

documents filed or served in this proceeding.

       RESPECTFULLY SUBMITTED, this the 23rd day of July, 2019.

                                                      DELTA INDUSTRIES, INC.

                                                By:   /s/ Jeffery P. Reynolds_________
                                                      /s/ Patricia E. Herlihy_________
                                                      Jeffery P. Reynolds, P.A.

OF COUNSEL:

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                              CERTIFICATE OF SERVICE

       I, Jeffery P. Reynolds, hereby certify that I have filed the foregoing document using the

CM/ECF System which sent notice of filing to all persons requesting notice.

       This the 23rd day of July, 2019.


                                            /s/ Jeffery P. Reynolds
                                            Jeffery P. Reynolds, MSB # 5305
